          USDC IN/ND case 1:20-cv-00039-HAB-SLC document 44-4 filed 04/03/20 page 1 of 3



From:                                  Shelby, Amanda L. <amanda.shelby@faegredrinker.com> on behalf of Shelby, Amanda
                                       L.
Sent:                                  Thursday, April 2, 2020 1:26 PM
To:                                    scs@kjk.com
Cc:                                    kws@kjk.com; grayson.harbour@faegredrinker.com; dmh@kjk.com
Subject:                               RE: Doe v. IWU



Susan,

Yes, I can be available at 5 p.m. this afternoon.

I understand Doe’s concern with going to a health care provider in the midst of a pandemic and stay at home
orders. Now, though, there are tests one can order online, take at home, and send in for analysis.

I look forward to talking later.

Amanda

Amanda L. Shelby
Partner
amanda.shelby@faegredrinker.com
Connect: vCard

+1 317 237 1377 direct / +1 317 237 1000 fax

Faegre Drinker Biddle & Reath LLP
300 N. Meridian Street, Suite 2500
Indianapolis, Indiana 46204, USA

Welcome to Faegre Drinker Biddle & Reath LLP (Faegre Drinker) - a new firm comprising the former Faegre Baker
Daniels and Drinker Biddle & Reath. Our email addresses have changed with mine noted in the signature block. All phone
and fax numbers remain the same. As a top 50 firm that draws on shared values and cultures, our new firm is designed
for clients.


From: Susan C. Stone <scs@kjk.com>
Sent: Thursday, April 02, 2020 1:23 PM
To: Shelby, Amanda L. <amanda.shelby@faegredrinker.com>
Cc: Kristina W. Supler <kws@kjk.com>; Harbour, Grayson F. <grayson.harbour@faegredrinker.com>; Dayna M. Hloska
<dmh@kjk.com>
Subject: RE: Doe v. IWU

Amanda:

I have a call at 2:00 and 4:00. Can you talk at 5:00 pm EST? If so, I will circulate a conference call line. Setting aside the
discovery issue, we have a pressing health concern. My clients are rightfully terrified that        infected            with
HIV. We are hoping to avoid having him and his family risk getting COVID from a hospital visit to get tested for HIV. To
do that, IWU must ask                to come clean. If she has HIV,            must get tested immediately. This is a serious
health concern. Right now, for the sake of health, we hope          was lying to gain an accommodation, sympathy or to
boost her case. We can all address those ramifications in due course. For now, we must discover the truth to assess
next steps.
                                                                                                     EXHIBIT 4
                                                              1
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Please confirm that we can speak at 5:00. Hopefully, you will have an answer by then that will calm the                                      family
down. This situation is much larger than a simple discovery dispute.

Sincerely,

Susan

Susan C. Stone | Partner | KJK
D: (216) 736-7220 | M: (216) 215-7924 | E: scs@kjk.com
1375 East Ninth Street | 29th Floor | Cleveland, Ohio 44114
kjk.com | Facebook | LinkedIn | Twitter

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From: Shelby, Amanda L. [mailto:amanda.shelby@faegredrinker.com]
Sent: Thursday, April 2, 2020 1:08 PM
To: Susan C. Stone <scs@kjk.com>
Cc: Kristina W. Supler <kws@kjk.com>; Harbour, Grayson F. <grayson.harbour@faegredrinker.com>
Subject: RE: Doe v. IWU

Hi Susan,

I saw that I missed your call. I’m currently on a call and have calls scheduled until about 4 or 4:30 today, with the
exception of a short window of time between 2 and 2:30. I’m happy to try to chat during that brief window, if you’re
available then.

As for your discovery requests, I noted that you requested a response within 7 days, although no Court order or
stipulation requires that. IWU will endeavor to respond as quickly as it’s able, but the federal rules don’t require a
response until 30 days from the date of service.

Amanda

Amanda L. Shelby
Partner
amanda.shelby@faegredrinker.com
Connect: vCard

+1 317 237 1377 direct / +1 317 237 1000 fax

Faegre Drinker Biddle & Reath LLP
300 N. Meridian Street, Suite 2500
Indianapolis, Indiana 46204, USA

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and fax numbers remain the same. As a top 50 firm that draws on shared values and cultures, our new firm is designed
for clients.


From: Sean P. Malone <spm@kjk.com>
Sent: Wednesday, April 01, 2020 5:55 PM
                                                                             2
         USDC IN/ND case 1:20-cv-00039-HAB-SLC document 44-4 filed 04/03/20 page 3 of 3
To: Shelby, Amanda L. <amanda.shelby@faegredrinker.com>
Cc: Susan C. Stone <scs@kjk.com>; Kristina W. Supler <kws@kjk.com>
Subject: Doe v. IWU

Amanda,

Please see the attached letter and discovery requests, which are being sent on behalf of Susan Stone.

Thanks,
Sean

Sean P. Malone | Senior Counsel | KJK
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1375 East Ninth Street | 29th Floor | Cleveland, Ohio 44114
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